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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO                    r,••rr...... -,.·??_    11 '"':3
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                                  WESTERN DIVISION

Tyler Gischel,
       Plaintiff
                                                 Case No. 1:17cv475
 v.
                                                 Judge Susan J. Dlott
University of Cincinnati, et al. ,               Mag . Judge Stephanie K. Bowman
      Defendants.

                                           ORDER

       This matter came before the Court today pursuant to a follow up telephone

conference to discuss outstanding discovery issues relating to Defendants' failure to

timely comply with the Court's prior Order of May 15, 2019 (Doc. 41 ). After much

discussion, the Court orders as follows:

       1. Defendants shall produce all documents that were previously ordered to be

           produced by November 25, 2019. This deadline will not be extended by the

           Court. All Title IX documents must be unredacted or be redacted with

           searchable gender designations with initials as discussed during the

           conference.

       2. Defendants to contact Plaintiff by October 25, 2019 to meet and confer as to

           any documents that have already been produced by Defendants pursuant to

           the Court's May 15, 2019 order but does not meet with Plaintiff's

           understanding of what would be produced .

       3. The parties are to inform the Court by November 1, 2019 whether they

           request a referral to Magistrate Judge Litkovitz for mediation or whether they
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            would like to schedule a mediation on the docket of the undersigned on the

            dates provided during the conference.

         4. A separate calendar order will follow.

         IT IS SO ORDERED.



Dated:     I 0 rJcl-~I/1 ~                       ~l{/!JoWtrU-'-'
                                                / Stephanie K. Bowman
                                                  United States Magistrate Judge
